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McBay v. Harrison County, Mississippi, by and through its Board of Supervisors, et al
Videotaped deposition o& Morgan Lee Thompson August 14, 2009

Page 1

IN THE UNITED STATES DISTRICT COURT

SOR THE SOUTHERN DISTRICT OF MISSISSIPPI
Southern Division

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sGARY BRICE McBAY, *

Plaintiff, x

Vv. * Civil Action No. i
HARRISON COUNTY, MISSISSIPPI * 1:07CV1205-LG-RHW

BY AND THROUGH ITS BOARD OF *

oe

SUPERVISORS, et al.,

Defendants. *

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VIDEO-RECORDED DEPOSITION OF
esMORGAN THOMPSON
August 14, 2009
11:48 a.m. - 12:45 p.m.

Hopewell, Virginia

REPORTED BY: Kurt D. Hruneni, CCR-VA

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EXHIBIT

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IN THE UNITED STATES DISTRICT COURT

FOR THE SCUTHERN DISTRICT OF MISSISSIPPI

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Plaintif®, *
Vv. * ivil Action No.
HARRISON COUNTY, MISSISSIPPI * 1:07CVi205-LG-RHW

BY AND THROUGE ITS BOARD OF *

SUPERVISORS, et al., *
Defendants. * :
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ounty, Mississippi, by an its Board of Supervisors, et al
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Page 9
1 A Yes, sir.

2 QO Did you request medical evaluation for
3 injuries that he received from the use of force or from
4 preexisting injuries?
5 A From the use of force.
6 Q “ll right. So then the use of force
7 resulted in Brice having facial swelling and bleeding
8 from the nose.
9g Be Yes, sir.
10 O Ancd.in this Booking photograph, which is

11 page 3 of Exhibit 9, were those the injuries that Brice

12 received. from the use of force by you?

13 A He didn't look like that when I left.

14 Q When you left?

15 A When I left for the snift that evening.

16 Q So he did not look like this after you used
17 excess ~- or after you used force on Brice?
18 A Not the purple and -- no. No, sir.

19 Q Well, then how ao you explain how he looks

20° there?
21 A It very well could have happened when we

22 got in the Fight. But I did not see him look like

23 that, personally.
24 Q The report, on page 3 of Exhibit 7, says he
25 -~ "McBay. appeared intoxicated. but able to follow

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9 posture towards you?

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1 verbal commands."
2 A Yes, sir.
3 QO You asked him to remove his clothing. He
4 indicated that ne wouldn't "get naked," and took an
5 aggressive posture towards you with closed fists.
6 Where is this going on? Where is he taking :
7 -- what part of the jail is he in or where is he
8 located when he's taking this aggressive, closed fist

: A In the shower area, where we dress out

11 everybody.

12 Q "Deputy Thompson moved toward McBay to

13 employ a soft empty hand control hold. McBay grabbed
14 Deputy Thompson by the shirt and struck Deputy Thompson
15 approximately 2 times on the side of the head with a

16 closed fist."

1? During the attack, you felt you were in

18 physical danger and returned multiple blows with closed

13 fists to the head and face area of McBay. ‘

20 A That's not correct. I didn't -- I had Teel
21 write this report out for me, because I was busy doing

PMT ROEE OSes TTA w HEE Ce

23 Q All right. What's not correct about it?
24 A The soft empty hand control, however he put
25 it in there. I didn't co that. I had reached out the

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1 door to grab clothes. We had a little ledge outside of

the door that we sat all the clotnes on.

3 So that way, we could get all their
4 clothes, check pockets, turn everything inside out, set
5 it up on one ledge. And then when we had visually :
6 searched them, made them squat and cough and do

7 whatever, then we would reach out and grab the uniform
8 and hand it to the inmate so they can get dressed.
9 Agel wasereachning out the door and looking

10 away, that's when he caught me in the back of the head.

11 Q And that was in the shower?
12 A Yes, six. :
13 Q And that's where we can't see it on the
14 camera?
15 A Yes, sir.
16 O Before you got him into the shower, was he
17 doing anything physical to you or -- |
18 A Just -- just verbal.
19 Q Did you have to hit him, strike him, or

20 take him down at any time before you got into the

21 shower?
22 A No, Sir. No, sir.
23 Q So the problem didn't happen until you got
24 into the shower.
25 A Right.
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1 Jumpsuit for him.
Z And when I was turned away, he hit me, back
3 here around the jaw, right around my ear.
4 Q Had you done anything prior to that to :
5 provoke him coing that?
6 A No. I mean, aside from just throwing

7 answers like, "Oh, listen to you. You've got little
man syndrome," and all that, you know. Just pretty
9 much blowing it off.

10 Q Is that the way you'd normally handle

12 A Yeah ;
13 Qo Is that to kind of defuse the situation?

14 A Yeah.

15 Q And just so that we're clear. You were

16 looking in the opposite cirection when you got hit in

17 the head; is that right?

18 A Yeah, yeah.
19 O Okay. What part of the head did you get i

21 A He caugnt me once in the jaw, back here

22 around my ear.

23 Q Okay. What sice are you referring to?
24 A On my left side.
25 Q On your left side. Was it with an open
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1 fist or a closed fist?
2 A Closed fist.
3 Q What did it feel like?
4 A Like I got punched. Gave me a ringing in
5 my @ars. I mean, he caught me off guard, so I wasn't

6 tensed up for it or anything. And it kind of rocked me

7 back a little.

8 But when I turned back around, he was, you

9 know, ready to go.
10 Q Was it a light hit or a hard hit? :
il A It was a pretty hard hit. Yeah. A pretty

12 hard hit.

13 QO What happened after the hit from Mr. McBay?
14 A I turned towards him. He was in a stance,

15 and he hit me again.

16 o Where did he hit you again?

L7 A I don't remember. I think he caught me in
18 the head. I'm not sure, I mean.

19 Q With a closed fist or open fist?

20 A Yeah. Ee was in a boxing stance. He was

21 ready to go.

22 Q But with a closed fist or an open fist?
23 A Yes. Closed fist.
24 Q Okay.
25 A Closed fist.
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9 he was getting ready to throw another punch. So I hit

10 him first.

11 Q Okay. When you say, “He was ready to go,"

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1 QO So he's now hit you twice; right?
2 A Right.
3 Q You haven't hit him back yet at this point;
4 correct?
5 A Not yet.
6 QO What nappens after that?
7 A T hit him back. Because he was ready to :
8 go. He was doing a little boxing stance, you know, and

12 what do you mean by that? E
13 A Like I said, his fists were up, balled ina

14 fist. He was, you know, kind of standing off to me,

15 like a boxer would, I guess.

16 Q Okay. And you said you did what after
17 that, after he made the stance?

18 A I hit him back.

19 Q At that time, did you feel Like you were

20 trying to defend yourself?
21 A Well, yeah. Because ne's getting ready to
22 hit me again.

Did he say that, that he was fixing to hit

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24 you again?

25 A No. He didn't say it, but he was postured

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1 A We were doing 1C- to 12-hour shifts.
2 Q How many days a week?
3 A Any where from five to six days a week.
4 Q And if you were adequately staffed, how
5 many hours would you be working?
6 A Prebably 40, 45 hours a week. i
7 MR. BRENDEL: That's all the questions I
8 have.
9
10 FURTHER EX AMINATION
11 BY MR. BUCHANAN: :
12 Q Just a couple of follow-ups.
13 You said you took him into the shower, you
14 turnec away. And when you turned away, he hit you, and
15 that surprised you. :
16 A Yeah.
17 Q All right. And then hit you again?
18 A Uh-huh.
18 MR. BRENDEL: You have to say yes or no.
20 THE WITNESS: Yes, yes. I'm sorry.
22 BY MR. BUCHANAN:
23 Q Ana then you had no choice, once he hit you
24 again, but to hit him with a closed fist to the face.
25 A Yes, sir.
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